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                                                                              FILED
                       UNITED STATES COURT OF APPEALS                          AUG 25 2020

                                                                           MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




JOSEPH CESARZ; QUY NGOC TANG,                      No.    19-15166
individually and on behalf of all others
similarly situated, and all persons whose          D.C. No.
names are set forth in Exhibit A to the            2:13-cv-00109-RCJ-CWH
First Amended Complaint,                           District of Nevada,
                                                   Las Vegas
                Plaintiffs-Appellants,

 v.                                                ORDER

WYNN LAS VEGAS, LLC; STEVE
WYNN,

                Defendants-Appellees.



         The dial-in telephone conference previously scheduled for August 26, 2020

is canceled.

         This case shall continue to be held in abeyance. The Clerk is directed to

temporarily close this court’s docket for administrative purposes only until

November 30, 2020. This administrative closure is not a decision on the merits

and no mandate will issue in connection with this order.

         If this matter is resolved before November 30, 2020, appellants shall file

either a motion or stipulation to dismiss this appeal pursuant to Fed. R. App. P.

42(b).
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       At any time before November 30, 2020, any party may request that this

appeal be reopened.

       On or before November 30, 2020, counsel are requested to provide the

mediator with an email update on the status of the case.


                                              FOR THE COURT:


                                              By: Steven J. Saltiel
                                              Circuit Mediator

SJS/Mediation




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